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                 EXHIBIT D
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Persons Likely to Possess Relevant Knowledge And / Or Documents – Dell’Aquila
Name                                                                            Location
Ackerman McQueen, Inc.                                                          Oklahoma City, OK
Allegiance Creative Group, Corporate Representative                             Fairfax, VA
Associated Television International, Corporate Representative                   Los Angeles, CA
Atlantis Resort, Corporate Representative                                       Paradise Island, Bahamas
Bach, Scott                                                                     Newfoundland, NJ
Boren, Dan                                                                      Edmond, OK
Borja, Lorannda                                                                 Lawrenceburg, TN
Brown, Robert                                                                   Boulder, CO
Brownell, Pete                                                                  Montezuma, IA
Butz, Dave                                                                      Swansea, IL
Chesney, Todd                                                                   Chino Valley, AZ
Childress, Richard                                                              Lexington, NC
Concord Social & Public Relations, Corporate Representative                     Fairfax, VA
Cors, Alan                                                                      McLean, VA
Cotton, Charles                                                                 Dallas, TX
Cox, Christopher                                                                Alexandria, VA
Coy, David                                                                      Adrian, MI
Cremer, Lacey                                                                   Dallas, TX
Cummins, Emily                                                                  Virginia Beach, VA
CXIII Rex, Corporate Representative                                             Alexandria, VA
Dell’Aquila, David                                                              Nashville, TN
Froman, Sandra                                                                  Tucson, AZ
Gallagher, Coleen                                                               New Buffalo, MI
Golob, Julie                                                                    Kearney, MO
Greenberg, Jesse                                                                Dallas, TX
GS2 Enterprises, Corporate Representative                                       Woodland Hills, CA
Hammer, Marion                                                                  Tallahassee, FL
Hart, Steve                                                                     Washington DC
HomeTelos, LP, Corporate Representative                                         Dallas, TX
International Order of St. Hubertus, Corporate Representative                   Washington DC
Inventive Incentive & Insurance Services Inc., Corporate Representative         Woodland Hills, CA
Keene, David                                                                    Washington, MD
Knight, Timothy                                                                 Signal Mountain, TN
Landini Brothers Restaurant, Corporate Representative                           Alexandria, VA
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Landini, Noe                                                Alexandria, VA
LaPierre, Susan                                             Great Falls, VA
Lee, Willes                                                 Fairfax, VA
Ling, Il                                                    Meridian, ID
Makris, Anthony                                             Alexandria, VA
Maloney, Sean                                               Liberty Township, OH
Marcellin, Michael                                          Leesburg, VA
Martin, Edmund                                              Edmond, OK
Martin, Henry                                               Dallas, TX
McKenzie, David                                             Los Angeles, CA
McKenzie, Laura                                             Los Angeles, CA
McQueen, Katie                                              Oklahoma City, OK
McQueen, Revan                                              Oklahoma City, OK
Meadows, Carolyn                                            Atlanta, GA
Membership Marketing Partners, Corporate Representative     Fairfax, VA
                                                            Oklahoma City, OK
Mercury Group, Inc.
                                                            (AMc headquarters)
North, Oliver                                               Bluemont, VA
Nosler, Robert                                              Bend, OR
Nugent, Shemane                                             China Spring, TX
Nugent, Ted                                                 China Spring, TX
Olson, Lance                                                Marengo, IA
Omni Air Transport, Corporate Representative                Hartford, CT
Phillips, Woody                                             Dallas, TX
Plunkett, Jaqueline                                         Washington DC
Porter, James                                               Birmingham, AL
Powell, Josh                                                New Buffalo, MI
Rendon Group, Corporate Representative                      Washington, DC
Richards, Nancy                                             Dallas, TX
RSM, Corporate Representative                               Chicago, IL
Schmeits, Ron                                               Raton, NM
Schneider, Esther                                           Driftwood, TX
Sheets, Wayne                                               Grasonville, MD
Sloan, Gurney                                               Colorado Springs, CO
SpiritWild Productions, Corporate Representative            China Spring, TX
Stanford, Gayle                                             Woodland Hills, CA
Sterner, Colleen                                            Merna, NE
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Sterner, Terry                                             Merna, NE
Under Wild Skies, Corporate Representative                 Alexandria, VA
Valinski, David                                            Palm Coast, FL
Weaver, Kyle                                               Missoula, MT
Weber, Brent                                               Andover, KS
Winkler, Brandon                                           Dallas, TX
Winkler, William                                           Edmund, OK
